Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 1 of 9




                    Exhibit 9
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 2 of 9




                                        COMMONWEALTH OF MASSACHUSETTS

               SUFFOLK,ss.                                                               SUPERIOR COURT
                                                                                         CIVIL ACTION
                                                                                         NO. 07-1464 BLS1

                                               DePUY SPINE,INC. & another'

                                                              vs.

                                            STRYKER BIOTECH,L.L.C. & another.'


                                    MEMORANDUM AND ORDER ON REQUEST FOR
                                          PRELIMINARY INJUNCTION

                      This matter came before the Court on the Plaintiffs' Motion for Preliminary Injunction, or

               Alternatively, for Temporary Restraining Order, Paper 14. On Ap.ril 5,2007, the Court declined

               entering an ex parte temporary restraining order and issued an Order ofNotice to show cause

               why a preliminary injunction should not enter. The matter has now been heard on return Of the

               Order of Notice and the Court issues the following Memorandum and Order.

                                                      BACKGROUND

                      DePuy Spine, Inc.("DePuy Spine")is a Massachusetts corporation and is one ofthe

               Johnson & Johnson family ofcompanies. Its principal place of business is in Raynham,

               Massachusetts. Johnson & Johnson Regenerative Therapeutics, LLC("JJRT")is.a

               Massachusetts limited liability corporation and also is one of the Johnson & Johnson'family of

               companies also with its principal place of business in Raynham, Massachusetts.

                      The defendant G. Joseph Ross("Ross"), a resident of Rehoboth, Massachusetts, is a

               former high level employee of DePuy Spine.


                          Johnson & Johnson Regenerative Therapeutics, Inc.

                      2   G. Joseph Ross.




CONFIDENTIAL                                                                                                       JANREM0116844
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 3 of 9




               By letter dated March 19, 2007, Ross tendered his resignation from DePuy Spine to accept a

               position at Stryker Biotech, L.L.C.("Stryker Biotech"), a Michigan limited liability corporation

               with its principal place of business in Hopkinton, Massachusetts. Ross is about to be engaged by

               Stryker Biotech as its Vice President of Marketing.

                       Leading up to his resignation, Ross had served as Worldwide Vice President of New

               Business Development fopDePuy Spine. While employed with DePuy Spine, Ross,on July 27,

               2005, executed a standard form of"Employee Secrecy, Non-Competition and Non-Solicitation

               Agreement"(the "Agreement"), which DePuy Spine, along with JJRT, seeks to enforce in this

               litigation.

                       The Agreement,in sec. 6, prohibits Ross from competing as follows:
                                                                                                     •
                              [F]or a period ofeighteen(18)months after termination of my employment with
                              the COMPANY[DePuy Spine, Johnson & Johnson and any of its affiliates] for
                              any reason, I will not render services, directly or indirectly, to any
                              CONFLICTING ORGANIZATION... in which the services I may provide Could
                              enhance the use or marketability of a CONFLICTING PRODUCT by application
                              of CONFIDENTIAL INFORMATION which I shall have access to during my
                              employment....

                       The Agreement, in sec. 7,contains a covenant from Ross as follows:

                              .. . I therefore agree that... for eighteen(18)months after termination of my
                              employment with the COMPANY for any reason,I will not solicit any business
                              from, sell to, or render any services to, Or, directly or indirectly, help others to
                              solicit business from or render service or sell to, any of the accounts, customers or
                              clients with whom I have had contact during the last twelve(12) months of my
                              employment with the COMPANY,for any purpose related to the sale of any such
                              product or service....

                       The Agreement defines a CONFLICTING ORGANIZATION as: "any person or

               organization which is engaged or is about to become engaged in research on,consulting;
                                                                                  •     •
               regarding, or development, production, marketing, or selling of a CONFLICTINO,PRODUCT:".'


                                                                2




CONFIDENTIAL                                                                                                          JANREM0116845
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 4 of 9




                      The Agreement defines a CONFLICTING PRODUCT as: "any product, process,

               machine, invention or service of any person or organization other than the COMPANY in

               existence or under development which resembles or competes with a product, process, machine,

               invention or service upon which I shall have worked or about which I became knowledgeable as

               a result of my employment with the COMPANY and whose use or marketability could be

               enhanced by application to,it of CONFIDENTIAL INFORMATION which I shall have had

               access to during my employment."

                      It thus becomes significant to understand whetkier Stryker Biotech is a CONFLICTING

               ORGANIZATION,as that term is used in the Agreement, and,ifso, whether any

               CONFLICTING PRODUCT will be involved if Ross assumes his new position with Stryker

               Biotech.

                      For these purposes, DePuy Spine asserts that its business involves the manufacture and

               distribution of products utilized in the treatment and repair ofspinal disorders and injuries.

               These products include metal and plastic hardware products, such as spinal implant and external

               fixation devices, and bone graft products (also called orthobiologic or biologic products), which

               are utilized in conjunction with spinal implant products to facilitate the regeneration of bone in

               the spine.

                       DePuy Spine describes its spinal implant products as including cages, rods, plates And the

               specialized screws used to affix these items to'human bone.. Spinal implant products.a.reused

               spinal surgeries to fuse together segments of the spine..

                      DePuy Spine says that its spinal bone graft products are materials designed to.facilitate
                                                                      ,
               bone regeneration in the spine, using a variety of biologic approaches.
                                                                      •

                                                                 3




CONFIDENTIAL                                                                                                        JANREM0116846
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 5 of 9




                       DePuy Spine's product development work is performed for it by JJRT.

                      DePuy Spine asserts that "Stryker Biotech and its affiliated company,Stryker Spine," are

               competitors of DePuy Spine in the markets for spinal implant and bone graft products.

                      Stryker Biotech responds to DePuy Spine's allegations regarding competition by asserting

               that Stryker Biotelch and Stryker Spine are two wholly separate subsidiary entities in the Stryker

               Corporation family ofcompanies. It says that Stryker Corporation has its corporate headquarters

               in Kalamazoo, Michigan, Stryker Spine is located in New Jersey, and, as noted above, Stryker

               Biotech is located in Hopkinton, Massachusetts.

                      Stryker Biotech further responds that Ross will be employed solely by it, and will not

               have any dealings with or perform any services for Stryker Spine„

                      Stryker Biotech still further responds that Stryker Biotech is solely in the business of

               developing, manufacturing and marketing bone graft products and does not get involved in spinal

               implant products. The latter, it says, is "hardware," which is the province and business of Stryker

               Spine in New Jersey.

                      According to Stryker Biotech, it is only in the area of bone graft products that there could

               be any CONFLICTING PRODUCTS between DePuy Spine and Stryker Biotech. In this

               business, Stryker Biotech insists that it has two particular products (referred to as "OP-I Implant"

               and "OP-1 Putty")that are already FDA approved, at least with Humanitarian Device

               Exemptions, and are being marketed with appropriate FDA limitations. It further, claims that

               DePuy Spine's bone graft products are significantly different(being "osteoconductive," rather

               than "osteoinductive" like Stryker Biotech's), and are only in early development and may be

               years away from attaining FDA approval, if they ever do. Consequently, Stryker Biotech'says


                                                                4




CONFIDENTIAL                                                                                                          JANREM0116847
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 6 of 9




               that it has no use whatsoever for confidential information about DePuy Spine's bone graft

               products in development.

                      The details of the products, their state of development and/or current usage and related

               matters are not something that this Court can aSsay with clarity or precision on the present

               record. "By definition, a preliminary injunction must be granted or denied after an abbreviated

               presentation of the facts and the law." Packaging Industries Group,Inc. v. Cheney, 380 Mass.

               609,616(1980).

                      There has been communication between Stryker Biotech and DePuy Spine before the

               commencement of this action regarding the nature of Ross's anticipated employment and

               assurances have been proffered by Stryker Biotech to Del:* Spine on these matters. See

               Affidavit of Mark Philip, Paper #11, at paras. 50 and 51.

                                                          DISCUSSION

                      In order to prevail on their request for preliminary injunctive relief, the plaintiffs bear the -

               burden of showing: their likelihood of success on the merits; that they will suffer irreparable

               harm if the injunctive relief sought is not granted; and that their harm, without the injunction,

               outweighs any harm to the defendants from being enjoined. Boston Police Patrolmen's Ass'n,

               Inc. v. Police Dept. of Boston, 446 Mass. 46, 49-50(2006); GTE Products Corp. v. Stewart,414

               Mass. 721, 722-723 (1993); Packaging Indus. Group,Inc., supra, 380 Mass. at 616-617.

                   • The plaintiffs have the burden of proofof demonstrating their chance of success on the

               merits. John T. Callahan & Sons, Inc. v. City of Maiden, 430 Mass. 124, 131 (1999Y"

                                      Injunctive relief either by way ofa temporary restraining order or,by a
                              preliminary injunction implicates a power ofequity which should be exercised
                              delicately. It should not be exercised routinely and the Court should reftise to
                                    -                                                      :




CONFIDENTIAL                                                                                                              JANREM0116848
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 7 of 9




                              grant such relief unless the circumstances require it.

               Nolan and Sartario, Equitable Remedies, 31 M.P.S. sec. 139(1993).

                      In these kinds of cases, this Court believes it important for all parties to understand that

               non-competition covenants or agreements, although enforceable in Massachusetts, are exceptions

               to the general rul. Thus, the Court often reminds its readers of Lord Macnaughten's early

               comments on the subject.)n Nordenfeldt v. Maxim Nordenfelt Guns & Ammunition Co.,[1894]

               A.C. 535 at 565, he reminded litigants that:

                                     The public have an interest in every person's carrying on his trade freely:
                             so has the individual. All interference with individual liberty of action in trading,
                             and all restraints oftrade themselves, if there is nothing more, are contrary to
                             public policy, and therefore void. That is the general rule. But there are
                             exceptions; restraints of trade and interference with individual liberty of action
                              may be justified by the special circumstances ofa particular case. It is a sufficient
                             justification, and indeed it is the only justification, ifthe restriction is reasonable —
                             reasonable, that is, in reference to the interest of the parties concerned and
                             reasonable in reference to the interest ofthe public, so framed and so guarded as
                             to afford adequate protection to the party in whose favour it is imposed, while at ..
                             the same time it is in no way injurious to the public: That,I think, is the fair result
                             ofall of the authorities.

                      Massachusetts' adopted Lord Macnaughten's statement, at least as early as 1922. See

               Sherman v. Pfefferkorn, 241 Mass. 468,474(1922).

                      The law most recently has been recited as follows:

                                      A covenant not to compete is enforceable only if.it is necessary to protect a
                              legitimate business interest, reasonably limited in time and space, and consonant
                              with the public interest. See Marine Contrs. Co., v. Hurley,365 Mass. 280, 287-


                         The Agreement here is said to be governed by New Jersey law. The parties at oral
               argument, however, seemed in agreement that there is no significant difference between the law
               of New Jersey and that of Massachusetts on the subject, New Jersey case law reflects as much. ..
               See,e.g., Ingersoll-Rand Co. v. Ciavatta, 110 N.J. 609,634-635.(1988);Solari Industries, Inc.
               Malady, 55 N.J. 571, 585(1970); Raven v. A. Klein tic.Co., 195.N.J. Super. 209(App. Div.
               1984).

                                                                6




CONFIDENTIAL                                                                                                             JANREM0116849
                 Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 8 of 9




                             288 (1974); All Stainless, Inc. v. Colby, 364 Mass. 773, 778 (9174). Covenants
                             not to compete are valid if they are reasonable in light of the facts in each case.
                             See Marine Contrs. Co. v. Hurley, supra, at 287; Saltman v. Smith, 313 Mass.
                             135, 145 (1943). Historically, covenants not to compete typically have arisen in
                             either the employment context or in the context of the sale of a business. See,
                             e.g., Whitinsville Plaza,Inc. v. Kotseas, 378 Mass. 85(1979)(sale of business);
                             Marine Contrs. Co. v. Hurley, supra(employment); All Stainless, Inc. v. Colby,
                             supra,(employment); Alexander & Alexander, Inc. v. Danahy, 21 Mass. App. Ct.
                             49(1986)(sale of business)....

               Boulang_er v. Dunkin' Donuts Incorporated, 442 Mass. 635,639-640(2004).

                                      Legitimate business interests include protection of trade secrets,
                              confidential information, and good will. Marine Contrs. Co. v. Hurley, supra
                              at 287. A covenant not to compete designed to protect a party from ordinary
                              competition does not protect a legitimate business interest.

               Id. at 641.

                      This Court finds here a confluence ofthe various issues involved in these kinds of cases.

               Ross, a sophisticated individual who, willingly, entered into the Agreement with DePuy Spine

               cannot freely walk away from that Agreement. At the same time, DePuy Spine cannot reach too

               far to bar Ross and Stryker Biotech from ordinary competition with it.

                                                           ORDER

                      For the foregoing reasons, this Court orders the following preliminary injunction:

                      The defendants, G. Joseph Ross and Stryker Biotech, L.L.C., are restrained and enjoined
                      only as hereafter set forth:

                              1.     from disclosing by Ross, or soliciting by Stryker Biotech, any confidential
                                     DePuy Spine information,including any confidential information
                                     rega-rding any DePuy Spine products,either in existence or in'
                                     development, its distribution network, or its business plan;

                              2.     from not coordinating, working or consulting with any Stryker Spine
                                     employees in connection with the sale or marketing ofany non-Stryker
                                     Biotech products for the duration,of this injunetion;



                                                               7




CONFIDENTIAL                                                                                                       JANREM0116850
                Case 1:17-cv-11008-MLW Document 53-10 Filed 10/16/17 Page 9 of 9




                              3.      from not communicating with any thought leaders on behalf of Stryker
                                      Spine or with respect to any Stryker Spine products or initiatives until
                                      further order of this injunction, and Ross's dealings with key opinion
                                      leaders shall be limited to discussions of bone morphogenetic protiens and
                                      Stryker Biotech's products and/or its initiatives;

                              4.      from having any direct responsibilities for licensing and acquisition,
                                      clinical affairs, research and development, or regulatory issues on behalf of
                                      Stryker Biotech until completion ofthe duration of this injunction;

                              5.      frorp having any responsibility for Stryker Biotech's outside sales force
                                      and any responsibility for calling on surgeons on a daily basis until
                                      completion of the duration of this injunction; and

                              6.      that Ross will only have responsibility for the marketing of Stryker
                                      Biotech's OP-1 products and any new initiatives that develop with Stryker
                                      Biotech's bone morphogenetic protiens.

                      The foregoing injunction shall remain in place until August 19, 2008, or until further
               modified, dissolved or otherwise changed by this Court or any appropriate appellate court.




                                                                            Allan van Gestel
                                                                            Justice of the Superio   ourt
               DATED:         April 17,2007




CONFIDENTIAL                                                                                                          JANREM0116851
